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UNITED STATES DISTRICT COURT

 

 

 

WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA Case No. 1:20-cr-183-RUJ

Plaintiff,
v. Hon. Robert J. Jonker
Barry Gordon Croft, Jr.

DEFENDANT'S INITIAL PRETRIAL
Defendant. CONFERENCE SUMMARY STATEMENT
Defendant Barry Gordon Croft, Jr. _ through his/her attorney,

 

submits the following initial pretrial conference summary statement.

I. DISCOVERY

The defendant requests disclosure pursuant to Federal Rules of Evidence 404(b).

The defendant will (1 will not provide reciprocal discovery.

ll. TRIAL
The defendant requestsa [XJ jury [J non-jury trial.
lil. MISCELLANEOUS

The parties acknowledge that if the case is appropriate for expedited resolution and
sentencing, a joint motion for expedited sentencing shall be filed within 14 days of
arraignment.

Counsel for defendant is unaware at this time of any known conflict with counsel's
representation of defendant. Counsel will immediately advise the court if any such
conflict becomes known.

[_] Counsel for defendant is aware of the following potential conflicts:

 

 

 

 

IV. OBLIGATIONS

Counsel for defendant acknowledges having reviewed the Obligations of Defense
Counsel section available at the court's website, www.miwd.uscourts.gov >>
Attorney Information >> Criminal Case Information.

Date 1/6/2021 /s/ Joshua A. Blanchard
Counsel for Defendant

 

 

(Rev. 03/01/2019)
